          Case 8:04-cr-00235-DKC Document 1583 Filed 11/21/12 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                             *
UNITED STATES OF AMERICA                     *
                                             *
                                             *
v.                                           *      Case No.: RWT 04cr235
                                             *
                                             *
LAVON DOBIE                                  *
                                             *


                                            ORDER

          On November 20, 2012, the Court held a hearing on Defendant’s Motion for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense under 18 U.S.C. § 3582

[ECF No. 1476], Motion to Hold in Abeyance Right to File a Motion under 18 U.S.C. § 2255

Pending Resentencing [ECF No. 1515], and Motion for Filing of Depierre Claim to be Held in

Abeyance [ECF No. 1519]. Upon consideration of the motions and the arguments of counsel

presented at the hearing, it is, for the reasons stated in the record, this 20th day of

November, 2012, by the United States District Court for the District of Maryland,

          ORDERED, that Defendant’s Motion for Retroactive Application of Sentencing

Guidelines to Crack Cocaine Offense under 18 U.S.C. § 3582 [ECF No. 1476] is DENIED; and

it is further

          ORDERED, that Defendant’s Motion to Hold in Abeyance Right to File a Motion under

18 U.S.C. § 2255 Pending Resentencing [ECF No. 1515] is DENIED AS MOOT; and is is

further
      Case 8:04-cr-00235-DKC Document 1583 Filed 11/21/12 Page 2 of 2



      ORDERED, that Defendant’s Motion for Filing of Depierre Claim to be Held in

Abeyance [ECF No. 1519] is DENIED AS MOOT.



                                                           /s/
                                                    ROGER W. TITUS
                                             UNITED STATES DISTRICT JUDGE




                                       2
